    Case 1:18-cv-11642-VM-VF Document 220 Filed 05/03/21 Page 1 of 6
                                                             Court-Appointed Temporary Receiver for Link Motion Inc.
                                                             Pursuant to The Honorable Judge Victor Marrero of the
                                                             United States District Court, Southern District of New York
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VIA ECF

Hon. Debra C. Freeman
United States Courthouse
Southern District of New York
500 Pearl Street, Suite 1040
New York, New York 10007

May 3, 2021


         Re:      Interim Status Report of the Temporary Court-Appointed Receiver of
                  Link Motion Inc. in the matter of Baliga v. Link Motion Inc. et al.,
                  1:18-cv-11642 (S.D.N.Y.) (VM) (DCF)

Dear Magistrate Judge Freeman:

        I write pursuant to Judge Marrero’s February 1, 2019 Order (ECF 26) (the “Order”)
to provide the Court with an interim status report in connection with the Receivership’s
continued efforts to secure and maintain the assets of Link Motion Inc. (“LKM” or “the
Company”) inside the People’s Republic of China (“PRC”), Hong Kong, and the United
States, as well as the Receivership’s participation in an arbitration proceeding in Hong
Kong concerning the unauthorized transfer of LKM assets (the “Arbitration”). As all pre-
trial matters are to be directed to your attention, the Receiver is sending you the following
status report. This status report contains new information concerning the above-referenced
matters and a summary of substantially all of the information previously provided to the
Court in earlier status reports. 1

Interim Status Report

    •    The Receiver continues to work with local and foreign counsel, including Kobre &
         Kim LLP (“Kobre Kim”), foreign counsel in Hong Kong, and the accounting firm
         KLC Corporate Advisory to assist in the Receivership’s duties outside of the United
         States. These duties include a number of issues inside the PRC and Hong Kong
         related to the assets which have been wrongfully transferred out of LKM, including
         corresponding with banks and courts inside the PRC.


1
 Attached hereto as Exhibit 1 is a summary of all legal matters currently being litigated in China on behalf
of the Receivership.

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   Case 1:18-cv-11642-VM-VF Document 220 Filed 05/03/21 Page 2 of 6
                                                  Court-Appointed Temporary Receiver for Link Motion Inc.
                                                  Pursuant to The Honorable Judge Victor Marrero of the
                                                  United States District Court, Southern District of New York
______________________________________________________________________________________
   •   The Receiver is actively working with KSG Attorneys at Law in the Cayman
       Islands (“KSG”), as previously approved by the Court, to assist in securing and
       maintaining Company assets, as well other issues related to LKM’s corporate
       governance in the Cayman Islands. With the help of KSG, the Receiver has been
       formally recognized in the Cayman Islands. This recognition has allowed the
       Receivership to engage Maples Corporate Services Limited (“Maples”) as the
       Company’s registered agent, and thereby avoid the Company’s dissolution in the
       Cayman Islands by paying required corporate fees. LKM is now up to date on all
       recent corporate fees in the Cayman Islands. Furthermore, by engaging Maples,
       the Receivership has gained access to critical corporate documents that previously
       were unattainable.

   •   On March 23, 2019, the Receiver and his U.S. counsel filed a required Form 6-K
       with the SEC (the “6-K”). As stated in the 6-K, the Receiver appointed a new
       director of the Hong Kong subsidiary of LKM and removed and replaced the legal
       representative of the wholly foreign-owned enterprise (“WFOE”) in the PRC. This
       has allowed the Receiver’s agents abroad, as stated in Exhibit 1, to enter into
       lawsuits on behalf of the WFOE and secure LKM assets abroad.

   •   The Receiver’s PRC agent, respected Chinese citizen and businessman Mr. Lilin
       Guo, is actively pursuing efforts to secure the bank account of the WFOE in China.
       Mr. Guo has successfully negotiated with other significant LKM shareholders
       inside the PRC to assist in the process of gaining control of the Variable Interest
       Entity (“VIE”) contracts that maintain control over LKM’s PRC subsidiaries.
       These activities are ongoing and include legal proceedings inside China.

   •   The Receiver, through his PRC agent, has taken the proper steps to gain formal
       control of the WFOE in the PRC. In this regard, after lawfully gaining control of
       the Hong Kong subsidiary which controlled the WFOE, the Receiver used the
       passage of corporate resolutions to make Mr. Guo the legal representative of the
       WFOE inside the PRC.

   •   The Receiver’s staff has worked diligently to review and analyze contracts, legal
       documents and emails produced by DLA Piper, Marcum, Skadden Arps, Loeb &
       Loeb, and all former professional services providers to the Company for purposes
       of evaluating the complex financial transactions entered into by LKM with various
       related and unrelated entities. In this regard, the Receiver previously engaged an
       outside third-party vendor for the purpose of litigation e-discovery and search
       technology.

   •   The Receiver, as ordered by the Court and upon the legal advice of Hong Kong
       counsel Kobre Kim, participated in the Arbitration in Hong Kong. Seasoned
       litigator Amiad Kushner, Esq. of Seiden Law Group LLP led the Arbitration on
       behalf of the Receiver. In addition, the Receiver has previously received large
       volumes of discovery in the Hong Kong Arbitration proceedings and has reviewed


                                            2
       Case 1:18-cv-11642-VM-VF Document 220 Filed 05/03/21 Page 3 of 6
                                                      Court-Appointed Temporary Receiver for Link Motion Inc.
                                                      Pursuant to The Honorable Judge Victor Marrero of the
                                                      United States District Court, Southern District of New York
______________________________________________________________________________________
           these documents The Arbitration is now concluded, and the Receiver submitted the
           Arbitration’s final award as a status update on March 2, 2021. (ECF 210).

       •   The Receiver, upon advice of counsel, continues its work to identify, secure, and
           preserve the Company’s assets, including sending formal letters and calls to
           commercial partners in the United States.

       •   The Receiver continues to seek cooperation from former LKM officers, directors,
           former Company counsel, and members of the Special Committee which was
           created in 2016 to deal with allegations concerning internal governance matters
           within LKM.

       •   The Receiver and his team continue to analyze documents and communications
           produced by previously-engaged third party service providers in the U.S.

       •   The Receiver, in concert with the Hong Kong co-Receiver and its legal counsel,
           took formal control of the Company’s Hong Kong subsidiary. This has been
           formally recognized by the Company’s registry offices in Hong Kong in September
           2019.

       •   The Receiver continues to work with the well-respected translator Mr. Jianfeng Li.
           Mr. Li has provided invaluable English-Chinese and Chinese-English translation
           and advisory services inside China.

       •   The Receiver has interviewed management from the Company’s Finland entity in
           connection with monetizing the Company’s intellectual property assets controlled
           there. The Receiver and his counsel have had multiple conversations and
           correspondence with Finland management to further this goal. In brief, prior to the
           appointment of the Receivership, Defendant Shi had cut off funding to the Finland
           entity with very short notice, leaving a group of unpaid employees in his wake.
           According to the management of the Finland entity, the Finland entity is now in
           bankruptcy in Finland due to the decisions made by Defendant Shi.

       •   In connection with China AI Capital Limited’s (“China AI”) motion to intervene
           (ECF 128), the Receiver conducted a thorough investigation into China AI. Based
           on that investigation, the Receiver’s team determined there was a link between
           China AI and Defendant Shi. The Receiver alerted the Court to this via formal
           letters dated May 2, 2020 2 and May 20, 2020 3. Further, the Receiver has learned
           that Defendant Shi and China AI’s attorneys both work at the same law firm,
           Felicello Law P.C., a firm comprised of two attorneys and three affiliated counsel.

       •   The Receiver has learned, through documents obtained by Maples, that China AI,
           the current majority shareholder of the Company, never paid $10,000,000 for half

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    Attached hereto as Exhibit 2.
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    Attached hereto as Exhibit 3.

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       Case 1:18-cv-11642-VM-VF Document 220 Filed 05/03/21 Page 4 of 6
                                                      Court-Appointed Temporary Receiver for Link Motion Inc.
                                                      Pursuant to The Honorable Judge Victor Marrero of the
                                                      United States District Court, Southern District of New York
______________________________________________________________________________________
           of its LKM shares. As China AI has been in default for roughly two years, the
           Receiver sent China AI a demand letter for the unpaid $10,000,000. China AI
           rejected the Receiver’s request and has refused to even put the money it owes the
           Company in an escrow account as a showing of good faith, the Receiver asked
           Judge Marrero for permission to cancel China AI’s unpaid shares in a letter
           submitted, under seal, on October 2, 2020. As all decisions have been redirected
           to this Court, the Receiver submitted a letter on November 30, 2020 for permission
           to cancel China AI’s shares. (ECF 194). The Receiver submitted a corrected letter
           to this court on December 18, 2020. (ECF 205).

       •   Upon further investigation into the relationship between Defendant Shi and China
           AI, the Receiver discovered that Jingyuan Hua, who had previously claimed to be
           the sole owner and director of China AI, has more substantial ties to Defendant Shi
           than had been disclosed. By Mr. Hua’s own admission, he wholly owns True Hero
           Ventures Limited, a British Virgin Islands company, through which he claims to
           own his interest in China AI. However, True Hero Ventures Limited also appears
           to be the entity through which Defendant Shi owned Tongfang Investment Fund
           Series SPC (“Tongfang”), an entity Defendant Shi used to strip LKM of valuable
           assets. Mr. Hua, in his declaration to this Court, states that he purchased China AI
           in August 2019. However, in a document filed in court in China, which Defendant
           Shi is attempting to use to further control LKM assets in China, Mr. Guo signs on
           behalf of China AI on January 10, 2019, seven months before he claimed in this
           Court to have purchased China AI. The Receiver and his team are investigating
           whether this important agreement between China AI and LKM was forged or
           backdated by Defendant Shi in an effort to further thwart the Receivership efforts
           in China. It is clear that Defendant Shi is either being untruthful in Chinese court
           documents or Jingyuan Hua has misrepresented his relationship with Shi to this
           Court.

       •   The Receiver informed the Court in a previous letter dated July 17, 2020, 4 of the
           actions of Defendant Shi in regards to Company bank accounts in China and the
           evidence showing that Defendant Shi has stolen tens of millions of dollars from the
           Company. Mr. Guo has reviewed bank documents from these Chinese banks with
           accounts held by LKM. These documents show that Defendant Shi has been
           plundering these bank accounts for years. For example, the bank records show that
           Defendant Shi had pledged the funds in LKM bank accounts in order to secure large
           loans for other companies that he and his cohorts established and control in China.
           These companies are not linked to LKM. The evidence in the possession of the
           Receiver indicate that these loans were never disclosed to LKM shareholders and
           were never approved via proper corporate governance protocols. Records within
           China also show that Defendant Shi has moved shares of LKM subsidiary
           companies out of the LKM corporate structure and into his own control. The
           Receiver continues to investigate this matter and gather more evidence in this
           regard.

4
    Attached hereto as Exhibit 4.

                                                4
   Case 1:18-cv-11642-VM-VF Document 220 Filed 05/03/21 Page 5 of 6
                                                   Court-Appointed Temporary Receiver for Link Motion Inc.
                                                   Pursuant to The Honorable Judge Victor Marrero of the
                                                   United States District Court, Southern District of New York
______________________________________________________________________________________

   •   In order to recover value from the bank account funds stolen from the Company by
       Defendant Shi, specifically from the bank accounts referenced above, the Receiver,
       through Mr. Guo, has filed an application for State Compensation in China against
       the Haidian District People's Court of Beijing Municipality (“the Chinese Court”).
       This application is based on the error that the Chinese Court made in allowing
       Defendant Shi and his cohorts to remove millions of dollars from the LKM bank
       accounts inside China while the Receiver was in place.

   •   The Receiver, in accordance with Cayman Islands law and proper corporate
       governance protocols, has changed LKM’s corporate seal in order to assist Mr. Guo
       in the PRC to gain control of the LKM assets there. This was in response to
       Defendant Shi using the LKM company seal to obstruct the Receiver’s dealings
       with banks and government agencies inside the PRC.

   •   During the course of the Receiver’s investigation into the current and former assets
       of LKM, the Receiver has learned that Showself Technology Co., Ltd., a large asset
       that belonged to LKM and was sold to Tongfang Investment Fund Series SPC, an
       entity controlled by Defendant Shi, has since been sold to Scienjoy Holding Corp.,
       is now listed in the United States on the Nasdaq. Notably, Tongfang never fully
       paid LKM for the asset and was apparently prohibited from selling or transferring
       it to a third party. As stated in the Receiver’s letter submitting the Arbitration’s
       final award (ECF 210), the pledge agreements which transferred Showself
       Technology Co., Ltd. have now been rendered void. The Receiver’s team’s
       investigation into this transaction is ongoing.

   •   The Receiver, via Mr. Guo, has referred the actions of Defendant Shi and Defendant
       Xu to the Beijing Police who have accepted the evidence and continue to
       investigate. The Receiver will keep the court updated on this matter as the situation
       unfolds.

       Receivership Account and Invoices

   •   Section 5 of your the Court’s Order provides for a bank account “to fund the
       Receivership including the compensation and expenses of the Receiver, which are
       subject to the approval of the Court.” Indeed, the Court ordered LKM to “cooperate
       with the Receiver in establishing and funding the Receivership Account” with a
       minimum balance of $100,000. However, the Company has continually failed to
       comply with this mandate, and LKM has not provided these funds. This has created
       an enormous burden on the Receivership.

   •   Section 6 of the Order states, “The Receiver and his professionals shall be paid on
       an hourly basis at a reasonable and customary rate for such work to be approved by
       the Court and paid promptly out of the Receivership Estate . . . Payment of the
       Receiver's compensation and expenses shall have priority over all other obligations,


                                            5
   Case 1:18-cv-11642-VM-VF Document 220 Filed 05/03/21 Page 6 of 6
                                                  Court-Appointed Temporary Receiver for Link Motion Inc.
                                                  Pursuant to The Honorable Judge Victor Marrero of the
                                                  United States District Court, Southern District of New York
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       payments, or distributions of the Company.” Pursuant to the Order, the Receiver
       will be submitting further invoices under seal.

       Please do not hesitate to contact me via email or telephone if your honor wishes to
discuss this request in more detail.

Respectfully submitted,



Robert W. Seiden, Esq.
Court-Appointed Temporary Receiver for
Link Motion Inc.




                                            6
